                             United States District Court
                           Western District of North Carolina
                                  Asheville Division

           Brent McMahan,              )             JUDGMENT IN CASE
                                       )
              Plaintiff,               )           1:21-cv-00010-MOC-WCM
                                       )
                 vs.                   )
                                       )
    Graham County Sheriff's Office     )
           Joseph Jones,               )
            Defendants.                )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s March 11, 2021 Order.

                                               March 11, 2021




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